                Case Case  22-1969, Document
                     3:19-cr-00314-SRU       77, 08/16/2024,
                                         Document   205 Filed3632197, Page1
                                                                08/16/24    of 4 1 of 4
                                                                          Page
       22-1969 & 23-6438
       United States v. Khan




MANDATE
                               UNITED STATES COURT OF APPEALS
                                   FOR THE SECOND CIRCUIT

                                           SUMMARY ORDER
  RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A SUMMARY
  ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY FEDERAL RULE OF
  APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1. WHEN CITING A SUMMARY ORDER
  IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST CITE EITHER THE FEDERAL APPENDIX OR AN
  ELECTRONIC DATABASE (WITH THE NOTATION “SUMMARY ORDER”). A PARTY CITING A SUMMARY
  ORDER MUST SERVE A COPY OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.

   1          At a stated term of the United States Court of Appeals for the Second Circuit, held at
   2   the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York,
   3   on the 25th day of June, two thousand twenty-four.
   4
   5   PRESENT:
   6               GERARD E. LYNCH,
   7               SUSAN L. CARNEY,
   8               MICHAEL H. PARK,
   9                     Circuit Judges.
  10   _______________________________________
  11
  12   United States of America,
  13
  14                               Appellee,
  15
  16                      v.                                                          22-1969 & 23-6438
  17
  18   Khatija Khan,
  19
  20                     Defendant-Appellant. *
  21   _______________________________________
  22
  23   FOR APPELLEE:                                                           Harold H. Chen, Sandra S. Glover,
  24                                                                           Assistant United States Attorneys,
  25                                                                           for Vanessa Roberts Avery, United
  26                                                                           States Attorney for the District of
  27                                                                           Connecticut.
  28
  29   FOR DEFENDANT-APPELLANT:                                                Bobbi C. Sternheim, Law Offices of
  30                                                                           Bobbi C. Sternheim, New York, NY
  31                                                                           (in No. 22-1969); Jonathan J.
  32                                                                           Einhorn, Jonathan J. Einhorn Law
  33                                                                           Offices, New Haven, CT (in No. 23-
  34                                                                           6438).


                *
                    The Clerk is directed to update the caption accordingly.
MANDATE ISSUED ON 08/16/2024
            Case Case  22-1969, Document
                 3:19-cr-00314-SRU       77, 08/16/2024,
                                     Document   205 Filed3632197, Page2
                                                            08/16/24    of 4 2 of 4
                                                                      Page




1           Appeals from a judgment and final restitution order of the United States District Court for

2    the District of Connecticut (Underhill, J.).

3           UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

4    DECREED that the judgment of the district court is AFFIRMED as modified and the final order

5    of restitution is AFFIRMED.

6           Together with her husband and codefendant, Defendant-Appellant Khatija Khan posed as

7    an immigration attorney to defraud low-income immigrants with the promise of immigration

8    assistance. Khan pleaded guilty to an indictment charging her with mail fraud and conspiracy to

9    commit mail fraud, in violation of 18 U.S.C. §§ 1341, 1349. The district court sentenced Khan to

10   a below-Guidelines sentence of 60 months’ imprisonment, 3 years of supervised release, and

11   restitution of not less than $326,212, with the final sum to be determined at a later hearing. At that

12   later hearing and without objection, the district court considered documentary evidence submitted

13   by the government and heard testimony from one of the victims and from Khan. After considering

14   the evidence and arguments, the district court entered a final order that Khan make restitution of

15   $367,743.75. In Appeal No. 22-1969, Khan appeals from her judgment of conviction and

16   sentence. In Appeal No. 23-6438, Khan is represented by different counsel and appeals from the

17   final order of restitution. We assume the parties’ familiarity with the underlying facts, the

18   procedural history, and the issues on appeal.

19          As to the restitution order appealed in No. 23-6438, Khan raises three meritless challenges

20   to the district court’s final restitution order. First, Khan argues that the government failed to prove

21   by a preponderance of the evidence that six additional victims who came forward after her guilty

22   plea suffered the losses the government claimed. But the government offered documentary proof

23   in the form of cancelled checks and money orders payable to Khan from the victims, as well as the




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            Case Case  22-1969, Document
                 3:19-cr-00314-SRU       77, 08/16/2024,
                                     Document   205 Filed3632197, Page3
                                                            08/16/24    of 4 3 of 4
                                                                      Page




 1   live testimony of one of the victims. Khan never objected to the admissibility of the documents

 2   or challenged their veracity and authenticity. The district court’s restitution calculations were

 3   therefore supported by a preponderance of the evidence. 2

 4           Second, Khan argues that the restitution order violates the Excessive Fines Clause of the

 5   Eighth Amendment. Khan did not make this argument below, so we review for plain error. Fed.

 6   R. Crim. P. 52(b). To prevail on plain-error review, Khan must show an error that is clear or

 7   obvious. United States v. Osuba, 67 F.4th 56, 65 (2d Cir. 2023). She fails to do so because there

 8   is no binding precedent holding that the Excessive Fines Clause applies to orders of restitution.

 9           Third, Khan argues—also for the first time on appeal—that a jury had to find beyond a

10   reasonable doubt that she had caused the victims’ losses in the amounts the government claimed.

11   She points to Southern Union v. United States, 567 U.S. 343 (2012), which held that facts that

12   subject a defendant to a higher maximum possible fine must be proven to a jury beyond a

13   reasonable doubt. Id. at 356; cf. Apprendi v. New Jersey, 530 U.S. 466 (2000). But we have held

14   that “judicial factfinding to determine the appropriate amount of restitution under a statute that

15   does not prescribe a maximum does not implicate a defendant’s Sixth Amendment rights.” United

16   States v. Bengis, 783 F.3d 407, 413 (2d Cir. 2015). 3




             2
                By failing to raise the arguments on appeal, Khan has abandoned any challenge to either the
     district court’s conclusion that she bore the burden of proving entitlement to any credit for sums spent for
     the victims’ benefit or the district court’s calculation of the credits to which she was entitled.
             3
                Every circuit to have considered the question with the benefit of Southern Union has agreed. See
     United States v. Vega-Martinez, 949 F.3d 43, 55 (1st Cir. 2020); United States v. Day, 700 F.3d 713, 732
     (4th Cir. 2012); United States v. Rosbottom, 763 F.3d 408, 420 (5th Cir. 2014); United States v. Sawyer,
     825 F.3d 287, 297 (6th Cir. 2016); United States v. Wolfe, 701 F.3d 1206, 1216-17 (7th Cir. 2012); United
     States v. Thunderhawk, 799 F.3d 1203, 1209 (8th Cir. 2015); United States v. Green, 722 F.3d 1146, 1149-
     50 (9th Cir. 2013); United States v. Kieffer, 596 F. App’x 653, 663-64 (10th Cir. 2014); United States v.
     Kachkar, No. 19-12685, 2022 WL 2704358, at *10 (11th Cir. July 12, 2022).


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              Case Case  22-1969, Document
                   3:19-cr-00314-SRU       77, 08/16/2024,
                                       Document   205 Filed3632197, Page4
                                                              08/16/24    of 4 4 of 4
                                                                        Page




   1          We turn next to Appeal No. 22-1969. Khan’s counsel in this appeal has moved to be

   2   discharged, arguing that there are no nonfrivolous issues that could be raised in an appeal from

   3   Khan’s conviction and sentence. See Anders v. California, 386 U.S. 738 (1967). Khan has not

   4   responded. The government has moved for summary affirmance.

   5          We agree with counsel’s assessment and grant the Anders motion with two caveats. First,

   6   as discussed above, we have considered and rejected Khan’s arguments challenging the district

   7   court’s final restitution order, so we deny the motion insofar as it relates to the restitution Khan

   8   must make. Second, the district court said at sentencing that it was imposing the “standard

   9   conditions of supervised release set forth at Guideline Section 5D1.3(c).” A:107. But we have

  10   invalidated the “risk” condition found at § 5D1.3(c)(12). See United States v. Boles, 914 F.3d 95,

  11   111 (2d Cir. 2019). Nonetheless, a remand is unnecessary here. The District of Connecticut does

  12   not regularly impose the risk condition, and the district court’s written judgment omits it. In our

  13   discretion, see 28 U.S.C. § 2106, we modify the district court’s oral judgment to conform to its

  14   written judgment that Khan is not subject to § 5D1.3(c)(12). See A:36-37.

  15          We have considered all of Khan’s remaining arguments and find them to lack merit.

  16   Accordingly, we AFFIRM the district court’s final order of restitution and AFFIRM the judgment

  17   as modified. The Anders motion in Appeal No. 22-1969 is GRANTED, and the government’s

  18   motion for summary affirmance is DENIED as moot.

  19                                                 FOR THE COURT:
  20                                                 Catherine O’Hagan Wolfe, Clerk of Court
  21




A True Copy




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